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              EXHIBIT
                 1
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                      Plaintiffs' Identification of Red Flags Categories and
         Computations Arising out of Those Red Flags or Combinations of Those Red Flags




Red Flags Disclosed in      Highlighted     Computation                 Computation Description from McCann April 2021 Report
 June 2020 Submission     Computations of     Number
and again in April 2021    Red Flags from      from                           Blue = 27 Computations Disclosed in June 2020
Catizone and McCann       Catizone's Report McCann April                 Green = 16 Additional Computations disclosed in April 2021
    Expert Reports        April 16, 2021** 2021 Report


                                                           An opioid was dispensed to a patient who traveled more than 25 miles to visit their
                                 *               2         prescriber. The distance here is calculated from the center of the patient's zip code to the
                                                           center of prescriber's zip code.
                                                           Patient was dispensed opioid prescriptions with overlapping days of supply that were
                                 *               3
                                                           written by two or more prescribers.
                                                           A patient was dispensed an opioid prescription written by a prescriber located more
                                                           than 25 miles from the patient and the patient was also dispensed either (i) at least 1
                                                           other opioid prescription written by the same prescriber on a different day within 30
                                                17
                                                           days of the original opioid prescription or (ii) a benzodiazepine or muscle relaxer
                                                           prescription written by the same prescriber on the same day as the original opioid
                                                           prescription was written.
   Doctor Shopping
                                                           A patient was dispensed opioid prescriptions written by at least 2 different prescribers
                                                18         such that all the opioid prescriptions were written in a 20-day period and at least one of
                                                           the prescribers is located more than 25 miles from the patient.
                                                           A patient was dispensed opioid prescriptions written by at least 3 different prescribers
                                                19         such that all the opioid prescriptions were written in a 45-day period and at least one of
                                                           the prescribers is located more than 25 miles from the patient.
                                                           A patient was dispensed opioid prescriptions written by at least 3 different prescribers
                                                20
                                                           such that all the opioid prescriptions were written in a 45-day period.
                                                           A patient was dispensed opioid prescriptions written by at least 3 different prescribers
                                                21         such that all the opioid prescriptions were written in a 60-day period and these
                                                           prescribers are located in at least 3 different zip codes.

                                                           An opioid was dispensed to a patient who traveled more than 25 miles to visit the
                                 *               1         pharmacy. The distance here is calculated from the center of the patient's zip code to the
                                                           center of the pharmacy’s zip code.
                                                           Patient was dispensed opioid prescriptions with overlapping days of supply at two or
                                 *               4
                                                           more pharmacies.
                                                           A patient was dispensed opioid prescriptions by at least 2 different pharmacies such that
                                                22         all the opioid prescriptions were dispensed in a 20-day period and at least one of the
 Pharmacy Shopping
                                                           pharmacies is located more than 25 miles from the patient.
                                                           A patient was dispensed at least 3 opioid prescriptions by at least 2 different pharmacies
                                                23         such that all the opioid prescriptions were dispensed in a 45-day period and at least one
                                                           of the pharmacies is located more than 25 miles from the patient.
                                                           A patient was dispensed opioid prescriptions by at least 2 different pharmacies such that
                                                24         all the opioid prescriptions were dispensed in a 45-day period and the pharmacies are
                                                           located in different zip codes.




  **Highlighted Computations are the 11 Catizone Computations that largely subsume the other 5 Catizone Computations.
                                                 e.g. #7 subsumes #5
      Case: 1:17-md-02804-DAP Doc #: 3719-1 Filed: 05/06/21 3 of 4. PageID #: 511208
                       Plaintiffs' Identification of Red Flags Categories and
          Computations Arising out of Those Red Flags or Combinations of Those Red Flags
                                                  An opioid was dispensed to at least 4 different patients on the same day and the opioid
                            *             12      prescriptions were for the same base drug, strength and dosage form and were written
                                                  by the same prescriber.
                                                  An opioid was dispensed to at least 3 different patients within an hour and the opioid
                                          13      prescriptions were for the same base drug, strength and dosage form and were written
                                                  by the same prescriber.
                                                  An opioid was dispensed to at least 4 different patients on the same day and the opioid
                                          25      prescriptions were for the same base drug, strength and dosage form and were written
                                                  by the same prescriber.
                                                  An opioid was dispensed to at least 3 different patients within an hour and the opioid
  Pattern Prescribing
                                          26      prescriptions were for the same base drug, strength and dosage form and were written
                                                  by the same prescriber.
                                                  An opioid was dispensed on the same day by the same pharmacy to at least 2 different
                                                  patients from the same zip code, which was more than 25 miles away from the
                                          27
                                                  pharmacy, and the opioid prescriptions were for the same base drug, strength and
                                                  dosage form and were paid for using cash.
                                                  An opioid was dispensed on the same day by the same pharmacy to at least 2 different
                                                  patients from the same zip code, which was more than 25 miles away from the
                                          28
                                                  pharmacy, and the opioid prescriptions were for the same base drug, strength and
                                                  dosage form and were written by the same prescriber.

                                                  Patient was dispensed an opioid prescription of over 200 MME per day before 2018 or
                                          10
                                                  over 50 MME per day after January 1, 2018.
                                                  Patient was dispensed an opioid prescription of over 200 MME per day before 2018 or
                            *             11
                                                  over 90 MME per day after January 1, 2018.
                                                  An opioid prescription was refilled more than 5 days before the patient’s previous
                            *             14
                                                  prescription should have run out.
                                                  A patient was dispensed more than 210 “days of supply” of all opioids combined in a 6-
                            *             15
                                                  month period.
                                                  An opioid prescription was refilled more than 5 days before the patient’s previous
                                          29      opioid prescription should have run out. For this test, I was asked to flag only the refill
                                                  and not the original prescription.
                                                  Another opioid prescription was filled more than 5 days before a patient’s previous
                                                  opioid prescription should have run out and the two opioid prescriptions were for the
                                          30
                                                  same base drug, strength and dosage form. For this test, I was asked to flag only the
                                                  subsequent prescription.
                                                  The “days of supply” in any 6-month period for any individual drug/strength/dosage
                                                  form of opioid dispensed to a patient was greater than 210 days. For this test, I was
                                          31
                                                  asked to calculate separately for each drug/strength/dosage form of opioid the patient
  Excessive Dispensing                            received.
(by frequency or volume)                          A patient was dispensed more than 90 dosage units of the same opioid base drug,
                                          32      strength and dosage form at least twice in a 20-day period and the patient paid cash for
                                                  at least one of the prescriptions.
                                                  More than 1 immediate-release opioid and more than 1 extended- release opioid were
                                          33
                                                  dispensed to the same patient in a 20-day period.
                                                  At least 3 opioid prescriptions of the same base drug, strength and dosage form were
                                          34      written to the same patient by the same prescriber on the same day.

                                                  A patient received opioid prescriptions from the same prescriber on at least 4 dates
                                          35      within a 45-day period.

                                                  A prescriber wrote opioid prescriptions to at least 2 patients over a 5-day period, and
                                          36      each patient is located more than 25 miles away from the prescriber.

                                                  An opioid prescription that was written by a top 5% prescriber of an opioid drug (same
                                                  base drug, strength and dosage form), this opioid drug accounted for more than 50% of
                                          37      the opioids prescribed by this prescriber, and more than 50% of the patients receiving
                                                  this opioid drug from this prescriber paid cash at least once.




  **Highlighted Computations are the 11 Catizone Computations that largely subsume the other 5 Catizone Computations.
                                                 e.g. #7 subsumes #5
      Case: 1:17-md-02804-DAP Doc #: 3719-1 Filed: 05/06/21 4 of 4. PageID #: 511209
                       Plaintiffs' Identification of Red Flags Categories and
          Computations Arising out of Those Red Flags or Combinations of Those Red Flags
                                                  Patient was dispensed an opioid, a benzodiazepine and a muscle relaxer for overlapping
                                           5
                                                  days of supply.
                                                  Patient was dispensed an opioid, a benzodiazepine and a muscle relaxer on the same
                                           6
                                                  day and all the prescriptions were written by the same prescriber.
                            *              7      Patient was dispensed an opioid and a benzodiazepine within 30 days of one another.
                                                  Patient was dispensed an opioid and a benzodiazepine on the same day and both
                                           8
                                                  prescriptions were written by the same prescriber.
                            *              9      Patient was dispensed two short acting opioid drugs on the same day.
                                                  An opioid and a [benzodiazepine or muscle relaxer] were dispensed to a patient on the
                                          38      same day and both prescriptions were written by the same prescriber.

                                                   An opioid, a benzodiazepine and a muscle relaxer were dispensed to a patient on the
                                          39      same day and all the prescriptions were written by the same prescriber.
Suspicious Combinations
                                                  3 or more opioid prescriptions were dispensed to a patient on the same day.
                                          40
                                                  An opioid and a [benzodiazepine or muscle relaxer] were dispensed to a patient within a
                                          41      single day on two different days within a 30-day period.

                                                  At least 2 opioid prescriptions and at least 2 [benzodiazepine or muscle relaxer]
                                          42      prescriptions were dispensed to a patient within a 14-day period.

                                                  At least 3 opioid prescriptions were dispensed to a patient within a 30-day period; and
                                                  the patient paid cash for each of these prescriptions and had no other non-cash payment
                                          43      transactions for controlled substances during the same 30-day period; and this patient
                                                  was dispensed at least 2 [benzodiazepine or muscle relaxer] prescriptions in the same 30-
                                                  day period.

                            *             16      A patient was dispensed an opioid and paid cash.
    Cash Payment                                  Note: Computations 27, 32, 27, and 43, already listed above, are also computations of
                                                  the Cash Payment Red Flag




  **Highlighted Computations are the 11 Catizone Computations that largely subsume the other 5 Catizone Computations.
                                                 e.g. #7 subsumes #5
